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 11 Attorneys for Plaintiffs Sunny
      Khachatryan, Tatevik Khachatryan, B.A.J,
 12 a minor and I.M, a minor
 13 (Defendants’ counsel listed on following page)
 14
                          UNITED STATES DISTRICT COURT
 15
                        CENTRAL DISTRICT OF CALIFORNIA
 16
      SUNNY KHACHATRYAN, an
 17 individual; TATEVIK                          CASE NO. 2:23-cv-10829-ODW(Ex)
      KHACHATRYAN, an individual; B. A.          JOINT RULE 26(F) REPORT
 18 J, a minor; and I.M, a minor,
 19                 Plaintiffs,
                                                 Date:    Monday, April 29, 2024
 20                    vs.                       Time: 1:30 p.m.
                                                 Location: First Street Courthouse,
 21                                                        350 W. 1st Street,
                                                           Los Angeles, CA 90012
 22 1 HOTEL WEST HOLLYWOOD,                                Courtroom 5D, 5th Floor
    L.L.C.; SH GROUP OPERATIONS,
 23 L.L.C.; SH GROUP GLOBAL IP                   Honorable Otis D. Wright II
    HOLDINGS, L.L.C; and DOES 1                  Honorable Charles F. Eick
 24 through 70, inclusive,
                                                 Complaint Filed: December 27, 2023
 25                Defendants.
                                                 Trial Date: Not Set
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 12 GLOBAL IP HOLDINGS, L.L.C
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  1        Pursuant to Federal Rule of Civil Procedure 26(f), Local Rule 26, and the
  2 Court’s February 13, 2024, Order Setting Scheduling Conference for April 29, 2024,
  3 at 1:30 p.m., Courtroom 9D (ECF #36), Plaintiffs SUNNY KHACHATRYAN, an
  4 individual (“S. Khachatryan”); TATEVIK KHACHATRYAN, an individual (“T.
  5 Khachatryan”); B. A. J, a minor (“B.A.J”); and I.M, a minor (“I.M”, collectively with
  6 S. Khachatryan, T. Khachatryan, and B.A.J, known as the “Plaintiffs”) and
  7 Defendants 1 HOTEL WEST HOLLYWOOD, L.L.C. (“1 Hotel West”); SH GROUP
  8 OPERATIONS, L.L.C.(“SH Group”); SH GROUP GLOBAL IP HOLDINGS, L.L.C
  9 (“SH Global”, collectively with “1 Hotel West” and “SH Group” known as the
 10 “Defendants” and Defendants, collectively with the Plaintiffs, known as the “Parties”)
 11 jointly submit this report, and its Proposed Schedule of Pretrial and Trial Dates as
 12 follows:
 13 1.     STATEMENT OF CASE
 14        A. Plaintiffs’ Statement
 15        Plaintiffs’ copyrighted photograph was used without Plaintiffs’ permission to
 16 promote and advertise the Defendants business, including but not limited to its spa
 17 business and associated merchandise such as bathrobes. The copyrighted photograph
 18 was of two minor children, who are cousins, wearing bathrobes by the Defendants
 19 pool located in West Hollywood, California. There was no parental consent for the
 20 use of the photograph. Defendants did not provide Plaintiffs with any compensation
 21 for the use of the copyrighted photograph. Defendants did not provide Plaintiffs with
 22 any credit or attribution. Defendants failed to obtain minor Plaintiffs’ parental or
 23 guardian consent prior to copying, publishing, and disseminating the copyrighted
 24 photograph.
 25        B. Defendants’ Statement
 26        Plaintiffs’ claims fail and they have no actual damages, nor are they entitled to
 27 any statutory damages. The photograph at issue in this case, of Plaintiffs B. A. J, a
 28 minor and I.M, a minor, are standing in front of the 1 Hotel pool in West Hollywood
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  1 wearing 1 Hotel branded robes, was posted by Plaintiff onto Plaintiff’s Instagram
  2 account and geo-tagged to the 1 Hotel’s Instagram account for the specific purpose of
  3 enhancing the exposure and use of the photograph. By their conduct, Plaintiffs
  4 provided express consent to Defendants to re-post the photo to its digital channels,
  5 without limitation, and any purported use of the photo or Plaintiffs’ likeness was with
  6 consent and license, incidental and not actionable. See Defendants’ Motion to
  7 Dismiss. (ECF No. 35). Statutory damages are also not available to Plaintiffs under
  8 the Copyright Act because there was no copyright registration covering the
  9 photograph until more than 2 years after use, nor did Defendants remove any
 10 copyright management information from the photograph prior to re-posting it. See
 11 Defs. Mot., §§ I-II. Plaintiff’s unconditional consent to Defendants’ use of the
 12 photograph also operated as a nonexclusive license to Defendants, further defeating
 13 any copyright infringement claim. See Defs. Mot., § III. Plaintiffs’ remaining
 14 common law claims for conversion, unfair competition, and “cyber” negligence are
 15 redundant of prior claims, legally defective, and expressly preempted by the
 16 Copyright Act, 17 U.S.C. § 501, et. seq. See Defs. Mot., §§ V- VI. Moreover,
 17 Plaintiffs failed to oppose Defendants’ motion to dismiss these claims, and they are
 18 legally abandoned and must be dismissed. See Defendants’ Reply in Support of its
 19 Motion to Dismiss, § VI.
 20 2.      SUBJECT MATTER JURISDICTION
 21         This action arises under the Copyright Act, 17 U.S.C. § 501. The Court has
 22 original jurisdiction over the claims in this action pursuant to 28 U.S.C. § 1331,
 23 1338(a) which provides for original jurisdiction in cases in which there is diversity of
 24 citizenship between the Parties and the amount in controversy exceeds $75,000.
 25         Venue is proper in the Central District under 28 U.S.C. § 1391(b) and (c) and
 26 1400(a) because the allegations giving rise to the claims occurred in this district and
 27 Defendants are subject to personal jurisdiction in this district.
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  1        On January 8, 2024, the Summons and Complaint in this action was served on
  2 Defendants’ registered agent for service of process (ECF #27-29). Defendants
  3 requested a fourteen (14) day extension (ECF #32) and timely filed a partial answer
  4 (ECF #34) and Motion to Dismiss (ECF #35) on February 12, 2024, which is now
  5 fully briefed and awaiting decision by this Court (ECF #39, #41). On March 4, 2024,
  6 the hearing on Defendants’ Motion to Dismiss was vacated and taken off calendar by
  7 the Court, with Defendants’ Motion to Dismiss to be decided upon without oral
  8 argument (ECF #42).
  9 3.     LEGAL ISSUES
 10        a.    Plaintiffs’ Position
 11              i. In violation of 17 U.S.C. §501, Defendants committed copyright
 12                 infringement by copying, posting, publishing, and disseminating the
 13                 copyrighted photograph.
 14              ii. In violation of 17 U.S.C. § 1202, Defendants removed the copyright
 15                 management information from the copyrighted photograph prior to
 16                 copying, posting, publishing, and disseminating the copyrighted
 17                 photograph.
 18             iii. Defendants misappropriated Plaintiffs likeness without permission,
 19                 authorization, or consent.
 20             iv. Defendants violated California states’ privacy law under civil code §
 21                 3344 by copying, posting, publishing, and disseminating the
 22                 copyrighted photograph and using Plaintiffs name and likeness.
 23              v. Defendants committed conversion of Plaintiffs’ property by using the
 24                 copyrighted photograph without authority or consent.
 25             vi. Defendants engaged in unfair competition and violated Business and
 26                 Professions Code Section 17200 by using the work without Plaintiffs
 27                 permission.
 28             vii. Defendants committed cyber negligence by the unauthorized
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  1                  collection and use of data from minor Plaintiffs and the public
  2                  publishing of the copyrighted photograph.
  3        b.     Defendants’ Position
  4               i. No copyright infringement occurred because Plaintiffs, by their
  5                   conduct, provided express consent and license to Defendants
  6                   concerning the complained-of use, and Plaintiff’s copyright claim
  7                   fails for this reason.
  8               ii. Further, the copyright registration of the photograph at issue was not
  9                   completed until April 2023, more than two (2) years after
 10                   Defendant’s expressly permitted Instagram post, meaning Plaintiff is
 11                   not entitled to any statutory damages whatsoever.
 12              iii. Copyright management information (“CMI”) is clearly defined under
 13                   the statute. The photograph at issue did not contain any purported
 14                   CMI for Defendants to allegedly remove in violation of 17 U.S.C. §
 15                   1202, and Count II of Plaintiffs’ Complaint fails accordingly.
 16              iv. Plaintiffs provided express consent and license to Defendants for use
 17                   of the photograph at issue, rendering their misappropriation claims
 18                   defective and those claims fail as a matter of law.
 19               v. Plaintiffs’ claims for conversion, unfair competition and “cyber”
 20                   negligence (Counts V-VII) are all expressly preempted by Copyright
 21                   Act, 17 U.S.C. § 501, et. seq., and therefore fail as matter a law.
 22              vi. Plaintiffs further failed to oppose Defendants’ Motion to Dismiss as
 23                   it relates to Counts V-VIII, rendering those claims legally abandoned
 24                   and subject to dismissal for this reason.
 25 4.      PARTIES, EVIDENCE, ETC.
 26        In regard to a list of parties, witnesses, and key documents on the main issues
 27 in the case, the Parties identify the following:
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  1       a.     List of Parties and Witnesses
  2              i.   Relevant personnel from S. Khachatryan, T. Khachatryan, B.A.J., and
  3                   I.M (Plaintiffs);
  4             ii.   Relevant personnel from 1 Hotel West, SH Group and SH Global
  5                   (Defendants); and
  6            iii.   Relevant third parties with whom Plaintiffs allege they have
  7                   purported endorsement deals and modeling contracts with.
  8       b.     Key Documents
  9              i.   All documents and/or communications related to the “Copyrighted
 10                   Photograph” and registration of the same. Compl. ¶¶ 16-22.
 11             ii.   All documents and/or communications related to Plaintiffs’ purported
 12                   endorsement deals and modeling contracts. Compl. ¶¶ 3-7.
 13            iii.   All documents and/or communications related to the issue of consent
 14                   of use of the “Copyrighted Photograph”. Compl. ¶ 30.
 15            iv.    Any other document and/or communication that supports or negates
 16                   any claim for damages.
 17 5.    DAMAGES
 18       Plaintiffs’ Damages:
 19            1.     Plaintiffs lost on a modeling contract for another hotel because of
 20                   Defendants’ unauthorized use of the copyrighted photograph;
 21            2.     Plaintiffs suffered damages for copyright infringement;
 22            3.     Plaintiffs suffered damages for the removal of copyright management
 23                   information;
 24            4.     Plaintiffs suffered damages from defendants’ misappropriation of the
 25                   copyrighted photograph;
 26            5.     Plaintiffs suffered damages from Defendants’ violation of Cal. Civ.
 27                   Code §3344;
 28            6.     Plaintiffs suffered damages from Defendants’ conversion of the
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  1                     copyrighted photograph;
  2              7.     Plaintiffs suffered damages from Defendants’ violation of business
  3                     and professions code section 17200; and
  4              8.     Plaintiffs suffered damages from Defendants cyber negligence.
  5        Defendants’ Damages:
  6        Defendants do not allege to have suffered any damages and affirmatively
  7 deny that Plaintiffs have suffered any damages in connection with the allegations of
  8 this suit.
  9 6.     INSURANCE
 10        In its Notice of Interested Parties pursuant to Local Rule 7.1-1, Defendants
 11 disclosed the potential for insurance coverage of the claim(s) in this action through
 12 one or more policies issued by Munich Re Insurance.
 13 7.     MOTIONS
 14        a.         Plaintiffs anticipates the following motions:
 15        No amendments are anticipated at this time, and Plaintiffs do not anticipate
 16 seeking to add any additional parties nor transfer venue.
 17        b.         Defendants anticipate filing the following motions:
 18        Defendants filed their Rule 12 Motion to Dismiss the Complaint on February
 19 12, 2024, and this Motion is fully briefed and awaits ruling from this Court. The
 20 forthcoming ruling on Defendants’ Motion will have a direct bearing on the scope and
 21 relevance of any potential discovery motions or protective order. In the event
 22 Defendant’s Rule 12 motion is not granted in full, Defendants anticipate filing a
 23 motion for summary judgment at the close of fact discovery on any remaining claims.
 24 8.     MANUAL FOR COMPLEX LITIGATION
 25        The Parties submit that the Manual for Complex Litigation need not be utilized
 26 for this case.
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  1 9.      STATUS OF DISCOVERY
  2         a.      Plaintiffs’ Position
  3         Plaintiffs propose to promptly exchange targeted document requests by May 3,
  4 2024, in furtherance of the Plaintiffs’ proposal to pursue mediation. Plaintiffs propose
  5 phased fact and expert discovery. No discovery has taken place at this time.
  6         b.      Defendants’ Position
  7         Defendants propose a temporary stay on discovery pending the outcome of
  8 Defendants’ Rule 12 Motion to Dismiss, as it has a direct bearing on the scope of
  9 discovery. The Parties have not presently agreed to mediation of this action.
 10 Defendants’ position is that mediation prior to the Court’s ruling on the pending
 11 Motion to Dismiss and subsequent discovery on the purported commercial value of
 12 certain Plaintiffs identities is premature.
 13 10.     DISCOVERY PLAN
 14         The Parties anticipate providing their respective Initial Disclosures on or before
 15 the Rule 26(f) conference scheduled for April 29, 2024, and Plaintiffs seek to pursue
 16 targeted initial discovery in aid of mediation as noted in Item 9 above with the hope
 17 that an early resolution is possible. Accordingly, the Parties agree that written
 18 discovery in this action shall be governed by the limits imposed by the Federal Rules
 19 of Civil Procedure and jointly propose the following:
 20              i. The Parties believe there will be between 3-5 depositions per side and
 21                 agree to a limit of 7 hours per deposition, unless good cause exists to
 22                 require a longer deposition and the Court authorizes such longer
 23                 deposition. It is the Plaintiffs’ position that depositions may occur either
 24                 in person, or remotely, depending upon the convenience of the parties
 25                 and the witness. It is Defendants’ position that depositions should occur
 26                 in person, absent Court approval or the parties’ agreement otherwise.
 27                 Request for Admissions limited to 20 per party. Requests for Admission
 28                 regarding the authenticity of documents shall not count against this limit.
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  1        The Parties intend to negotiate a proposed Order governing collection,
  2 production, and the format of ESI (“ESI Order”). The parties’ proposed ESI Order
  3 will address, e.g.:
  4           i.   a process for the identification and disclosure of custodians,
  5                storage systems, and non-custodian sources (“ESI disclosures”);
  6          ii.   a process for the identification and disclosure of any potentially
  7                discoverable ESI that has been lost, destroyed, is inaccessible, or
  8                is only of limited accessibility;
  9         iii.   a methodology for searching ESI, including whether the use of
 10                technology assisted review (“TAR”) and/or search terms are
 11                appropriate, and the TAR methodology and/or search terms that
 12                will be used; and
 13         iv.    technical specifications governing the form of production of hard
 14                copy documents and ESI.
 15        The Parties identify and anticipate taking document and testimonial discovery
 16 on at least the following issues:
 17                a) The processes and procedures of the Parties related to the
 18                   copyrighting, consent, and/or posting of the photograph at issue.
 19                b) Plaintiffs will also seek discovery regarding Defendants’ efforts to
 20                   clear the photograph prior to use and publication. As with all topics,
 21                   Defendants reserve the right to object to same.
 22                c) Defendants will seek discovery of Plaintiffs’ alleged damages and
 23                   the commercial value of their identities. As with all topics,
 24                   Plaintiffs reserve the right to object to same.
 25        Proposed Schedule:
 26        a.      Plaintiffs’ Position
 27        Plaintiffs propose the following schedule:
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  1        Fact Discovery Cut Off: January 10, 2025
  2        Expert Disclosure (Initial): January 10, 2025
  3        Expert Disclosure (Rebuttal): January 17, 2025
  4        Expert Discovery Cut Off: January 24, 2025
  5        Dispositive Motion: January 31, 2025
  6        Pre-trial conference: February 21, 2025
  7        Trial: March 10, 2025
  8        b.      Defendants’ Position
  9        Defendants believe the parties should be able to efficiently move forward with
 10 discovery following decision on Defendants’ Rule 12 motion.                 To this end,
 11 Defendants propose:
 12        Fact Discovery Cut Off: Four (4) months following the date of decision on
 13 the Rule 12 motion.
 14        Expert Disclosure (Initial): Six (6) months following the date of decision on
 15 the Rule 12 motion.
 16        Expert Disclosure (Rebuttal): 30 days following initial expert disclosures.
 17        Expert Discovery Cut Off: 30 days following initial and rebuttal expert
 18 disclosures.
 19        Dispositive Motion: 30 days following the close of expert discovery.
 20        Pre-trial conference: 30 days prior to trial date.
 21        Trial: To be determined.
 22 11.    DISCOVERY CUT-OFF
 23        The Parties each prepared their own proposed discovery schedule as identified
 24 in Section 10. Each discovery proposal includes its own respective cut-off date for
 25 fact and expert discovery.
 26 12.    EXPERT DISCOVERY
 27        A.      Plaintiffs’ Statement on Expert Discovery
 28        Plaintiffs will seek to retain an expert on damages.
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  1        B.     Defendants’ Statement on Expert Discovery
  2        Defendants intend to retain an expert on the purported commercial value (or
  3 lack thereof) of Plaintiffs’ identities, damages and various liability issues.
  4 13.    DISPOSITIVE MOTIONS
  5        a.     Plaintiffs’ Statement on Anticipated Dispositive Motions
  6        Motion for Summary Adjudication and/or Summary Judgment on its claims
  7 alleged in the Complaint.
  8        b.     Defendants’ Statement on Anticipated Dispositive Motions
  9        Motion for Summary Adjudication and/or Summary Judgment on any alleged
 10 claims remaining in Plaintiffs’ Complaint after the Court’s decision on Defendants’
 11 pending Motion to Dismiss.
 12 14.     SETTLEMENT PURSUANT TO L.R. 16-15.4/ALTERNATIVE
 13        DISPUTE RESOLUTION (ADR)
 14        The Parties have not conducted nor scheduled any ADR to date.
 15        Defendants’ position is that ADR prior to the Court’s ruling on the pending
 16 Motion to Dismiss and discovery on at least Plaintiffs’ purported damages is
 17 premature.
 18 15.     PRELIMINARY TRIAL ESTIMATE
 19        The Parties estimate that this matter will take five (5) days to try before a jury,
 20 pursuant to the Court’s general practice.
 21 16.     TRIAL COUNSEL
 22        Trial Counsel for Plaintiffs Sunny Khachatryan, Tatevik Khachatryan,
 23        B.A.J, a minor and I.M, a minor:
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 18 17.     INDEPENDENT EXPERT OR MASTER
 19         The Parties submit that this case is not suitable for a reference appointing a
 20 master pursuant to Rule 53.
 21 18.     AMENDED PLEADINGS AND ADDING PARTIES
 22         A party who wishes to amend its pleading or to add one or more parties shall
 23 seek a stipulation from the other parties. If the Parties cannot reach such a stipulation,
 24 then the party seeking to amend shall comply with Rule 15(a) and, if applicable, Rule
 25 16(b)(4) of the Federal Rules of Civil Procedure, as well as L.R. 15-1 through L.R.
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  1 15-3 and L.R. 16-14.
  2 19.    OTHER ISSUES
  3        On February 14, 2024, Defendants propounded Rule 68 Offers of Judgment to
  4 Plaintiffs B. A. J, a minor; I.M, a minor, and Sunny Khachatryan, respectively.
  5 Plaintiffs rejected the Offers and Defendants reserve all rights to seek attorneys’ fees
  6 and costs should Plaintiffs not be awarded more than what was offered to them via
  7 the Offers of Judgment.
  8        Defendants are also investigating a potential counterclaim for dilution of
  9 trademark/trademark infringement related to Plaintiffs’ unauthorized use of 1 Hotel’s
 10 trademarked robes and logo in promotion of Plaintiffs’ personal brands and purported
 11 modeling careers.
 12 20.    CONSENT TO PROCEED BEFORE MAGISTRATE JUDGE
 13        Counsel for all Parties have discussed whether the Parties consent to have a
 14 Magistrate Judge of this Court conduct any and all necessary proceedings and order
 15 the entry of judgment in this matter pursuant 28 U.S.C. § 636(c) and General Order
 16 12-01. The Parties consent to proceed before the Magistrate Judge of this Court to
 17 conduct any and all necessary proceedings and order the entry of judgment in this
 18 matter pursuant to 28 U.S.C. § 636(c) and General Order 12-01.
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 17                                  Tatevik Khachatryan, B.A.J, a minor and I.M, a
 18                                  minor
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  1 DATED: April 22, 2024            CLARK HILL LLP
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  3                                  By:         /s/ Myriah V. Jaworski
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 13                                  HOLLYWOOD, L.L.C.; SH GROUP
 14                                  OPERATIONS, L.L.C.; SH GROUP GLOBAL
                                     IP HOLDINGS, L.L.C
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                                    JOINT RULE REPORT
                                                                 Case No. 2:23-cv-10829-ODW(Ex)
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                                       #:263



  1          ATTESTATION PURSUANT TO LOCAL RULE 5-4.3.4(a)(2)(i)
  2         I, Tyler R. Dowdall, am the ECF User whose identification and password are
  3 being used to file this JOINT RULE 26(F) REPORT in compliance with Local Rule
  4 5-4.3.4(a)(2)(i), I hereby attest that all signatories have concurred in this filing.
  5
  6 Date: April 22, 2024
  7                                               /s/ Tyler R. Dowdall
                                                      Tyler R. Dowdall
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Case 2:23-cv-10829-ODW-E      Document 43 Filed 04/22/24        Page 18 of 18 Page ID
                                      #:264



  1                             CERTIFICATE OF SERVICE
  2        I hereby certify that on April 22, 2024, I electronically filed the above
  3 document(s) and attachments with the Clerk of Court using CM/ECF which will
  4 send electronic notification of such filing(s) to all registered counsel.
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  6
                                                 /s/ Tyler R. Dowdall
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                                                     Tyler R. Dowdall
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